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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LAKEISHA STONE,                                            )
                                                           )
        Plaintiff,                                         )
                                                           )
v.                                                         )
                                                           )
NORTH LAWNDALE COLLEGE                                     )   Case No. 24 CV 11350
PREPERATORY CHARTER HIGH SCHOOL,                           )   Judge Sharon Johnson Coleman
BOARD OF DIRECTORS OF NORTH                                )
LAWNDALE COLLEGE PREPARATORY                               )
CHARTER HIGH SCHOOL, JENNA                                 )
CUNNINGHAM-ELDER in her Ind Capacity as                    )
Chief Executive Officer, ERIN SIMUNOVIC, in                )
her Ind Capacity as CEO, GARLAND LOUIS                     )
THOMAS-MCDADE, in his Ind Capacity as Board                )
Member, BRUCE MILLER, in his Ind Capacity as               )
Board Member, ALLEN BENNETT in his Ind                     )
Capacity as Board Member, ROBIN STEANS, in                 )
her Ind Capacity as Board Member, JIM MINIS, in            )
his Ind Capacity as Board Member, DR. KIM                  )
HINTON, in her Ind Capacity as Board Member,               )
WILONDA CANNON, in her Ind Capacity as                     )
Board Member, CARRIE STEWART, in her Ind                   )
Capacity as Board Member, PAYCOR, INC., and                )
THE BOARD OF TRUSTEES OF THE PUBLIC                        )
SCHOOL TEACHERS’ PENSION AND                               )
RETIREMENT FUND OF CHICAGO,                                )
                                                           )
        Defendants.                                        )

                                   NOTICE OF MOTION

TO:     All Registered Efilers

       PLEASE TAKE NOTICE that on March 7, 2025, at 10:00 a.m., or as soon thereafter as
counsel may be heard, we shall appear before the Honorable Sharon Johnson Coleman in
Courtroom 1241 of the United States District Court for the Northern District of Illinois, 219 S.
Dearborn St., Chicago, Illinois 60604 and then and there present School Defendants’ Unopposed
Motion to Stay Deadline to File Responsive Pleading to Plaintiff’s Second Amended
Complaint Pending Court’s Ruling on Plaintiff’s Request to Remand to State Court, copies
of which are hereby served upon you.




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                           Respectfully submitted,

                           BOARD OF DIRECTORS OF NORTH LAWNDALE
                           COLLEGE PREPARATORY CHARTER HIGH SCHOOL,
                           NORTH LAWNDALE COLLEGE PREPARATORY
                           CHARTER HIGH SCHOOL, JEMIA CUNNINGHAM-
                           ELDER, ERIN SIMUNOVIC, GARLAND LOUIS THOMAS-
                           McDADE, BRUCE MILLER, ALLEN BENNETT, ROBIN
                           STEANS, JIM MINIS, KIM HINTON, WILONDA
                           CANNON, and CARRIE STEWART

                           By: /s/ Kevin P. McKeown
                             One of the Attorneys for School Defendants


Jason T. Manning, No. 6290126
Kevin P. McKeown, No. 6324330
Valerie A. Robert, No. 6339586
Hodges, Loizzi, Eisenhammer,
    Rodick & Kohn LLP
500 Park Blvd., Suite 1000
Itasca, IL 60143
(847) 670-9000
(847) 670-7334 (Facsimile)
jmanning@hlerk.com
kmckeown@hlerk.com
vrobert@hlerk.com




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                               CERTIFICATE OF SERVICE

        Kevin P. McKeown, an attorney, certifies that on March 5, 2025, the foregoing School
Defendants’ Unopposed Motion to Stay Deadline to File Responsive Pleading to Plaintiff’s
Second Amended Complaint Pending Court’s Ruling on Plaintiff’s Request to Remand to
State Court was electronically filed with the Clerk of the U.S. District Court for the Northern
District of Illinois, via its CM/ECF System and was electronically served on that date via the
CM/ECF system to all registered e-filers.


                                                   By: /s/ Kevin P. McKeown
                                                      Attorney for School Defendants

Jason T. Manning, No. 6290126
Kevin P. McKeown, No. 6324330
Valerie A. Robert, No. 6339586
Hodges, Loizzi, Eisenhammer,
    Rodick & Kohn LLP
500 Park Blvd., Suite 1000
Itasca, IL 60143
(847) 670-9000
(847) 670-7334 (Facsimile)
jmanning@hlerk.com
kmckeown@hlerk.com
vrobert@hlerk.com
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